       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 1 of 21




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 7

 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
      BEHRUZ BONSHAHI, an individual,       )                         Case No.
11                                          )
                       Plaintiff,           )
12                                          )                         COMPLAINT FOR INJUNCTIVE
              vs.                           )                         RELIEF AND DAMAGES: DENIAL OF
13                                          )                         CIVIL RIGHTS AND FULL AND
                                            )                         EQUAL ACCESS TO PUBLIC
      GENERAL PLUMBING SUPPLY
14    COMPANY, INC., and DOES 1 through 10, )                         ACCOMMODATIONS TO PERSON
                                            )                         WITH PHYSICAL DISABILITY IN
      inclusive,
15                                          )                         VIOLATION OF THE AMERICANS
                                            )                         WITH DISABILITIES ACT OF 1990
                       Defendants.
16                                          )                         (42 U.S.C. §§ 12101 et seq.), AND
                                            )                         CALIFORNIA DISABLED RIGHTS
17                                          )                         STATUTES (CIVIL CODE §§ 51, 52, 54,
                                            )                         54.1, 54.3; HEALTH & SAFETY CODE
18                                          )                         §§ 19955 et seq.)
                                            )
19                                          )
                                            )
20

21           Plaintiff BEHRUZ BONSHAHI (“plaintiff”), an individual, complains of defendant
22   GENERAL PLUMBING SUPPLY COMPANY, INC. (“GENERAL PLUMBING”), as the
23   owner and operator of General Plumbing Supply, located at 1530 San Luis Road, Walnut Creek,
24   California, 94597, and DOES 1 through 10, inclusive. Plaintiff alleges as follows:
25                                                 INTRODUCTION
26           1.        This is a civil rights action for unlawful discrimination based on defendant’s
27   failure to design, construct, and maintain a facility and its accommodations to make them readily
28   accessible to, and usable by, individuals with disabilities when it was structurally practicable and
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           1
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 2 of 21




 1   readily achievable to do so.

 2           2.        Defendant GENERAL PLUMBING’s facility is a place of public accommodation

 3   located at 1530 San Luis Road in Walnut Creek. Defendant GENERAL PLUMBING lacks

 4   accessible accommodations and has denied plaintiff and other similarly situated individuals with

 5   physical disabilities full and equal access to its accommodations, facilities, goods, services, and

 6   opportunities that are provided to non-disabled members of the public.

 7           3.        Plaintiff is a person with a physical disability who requires the use of a wheelchair

 8   for mobility. Plaintiff has been denied full and equal access to the accommodations and services

 9   offered at defendant’s facility. Plaintiff made several visits to defendant’s facility as an invitee,

10   guest, patron, and customer and personally experienced actionable discrimination that violated

11   his civil rights under federal and state laws.

12           4.        Defendant violated plaintiff’s civil rights under Federal and California laws by

13   failing to design, construct, and provide accessible accommodations at its facility. Plaintiff

14   personally encountered barriers to full and equal access that caused him physical difficulty,

15   discomfort, and embarrassment while attempting to access accommodations at defendant’s

16   facility. Thus, plaintiff seeks injunctive relief against defendant pursuant to Title III of the

17   Americans with Disabilities Act of 1990, 42 U.S.C. Section 12101, et seq., and monetary relief

18   under the California Unruh Civil Rights Act, Cal. Civ. Code Sections 51, 52, and the California

19   Disabled Persons Act, Cal. Civ. Code Sections 54, 54.1, and 54.3, et seq.

20                                         JURISDICTION AND VENUE
21           5.        This Court has original jurisdiction of this action pursuant to 28 U.S.C. Section
22   1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. Section 12101, et
23   seq. (“ADA”). Pursuant to 28 U.S.C. Section 1367, the Court also has supplemental jurisdiction
24   over related causes of action under California law arising from the same operative facts and
25   transactions. These related claims include violations of Cal. Civ. Code Sections 51, 52, 54 and
26   54.3, Cal. Gov't Code Section 4450, et seq., Cal. Health & Safety Code Sections 19955-19959,
27   and Title 24 of the California Code of Regulations.
28           6.        Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(b) and is
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           2
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 3 of 21




 1   founded on the facts that the real property, which is the subject of this action where plaintiff’s

 2   causes of action arose, is located within this judicial district at 1530 San Luis Road, Walnut

 3   Creek, California, 94597, and in the County of Contra Costa.

 4           7.        Intra-district Assignment. This matter should be assigned to the San Francisco

 5   and Oakland Division of the Court under Civil Local Rule 3-2(c) and (d), because the real

 6   property where the causes of action arose is located within Contra Costa County.

 7                                                       PARTIES

 8           8.        Plaintiff requires the use of a wheelchair for mobility and for traveling about in
 9   public places. Accordingly, plaintiff is an “individual with a disability” as defined by Federal
10   and California anti-discrimination laws enacted to ensure that individuals with disabilities are
11   afforded full and equal access when visiting and accessing public accommodations to enjoy,
12   participate in, experience, and benefit from, accommodations, and goods and services offered to
13   members of the general public who are non-disabled.
14           9.        Plaintiff visited defendant’s business on several occasions as a customer and was
15   denied of his civil rights to access available services and accommodations in a full and equal
16   manner due to architectural barriers that plaintiff personally encountered.
17           10.       Plaintiff is informed, believes, and alleges that defendant owns and operates, and
18   was at all relevant times acting and performing, or failing to act or perform within its authority as
19   the owner and operator of the business to ensure that the accommodations, goods, services, and
20   opportunities were accessible to plaintiff and other members of the public who have physical
21   disabilities. Defendant’s failure to comply with Federal and State access laws proximately caused
22   the violations and ongoing violations and damages to plaintiff complained of herein.
23           11.       Defendant’s store and accommodations are open to the general public to visit and
24   to patronize and therefore is a “public accommodation” or “public facility” subject to the
25   requirements of the ADA and California Civil Code Sections 51, 52, 54, 54.1, and 54.3, et seq.,
26   California Health and Safety Code Section 19955, et seq., and California Government Code
27   Section 4450, et seq.
28           12.       At all times relevant to this Complaint, defendant has been and is responsible for
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           3
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 4 of 21




 1   ensuring that its facilities are free of architectural barriers preventing full and equal access to

 2   public accommodations for persons with disabilities as provided by Code of Federal Regulations,

 3   Title 28, Chapter I, Part 36, Subpart B, Section 36.201, and that its goods, services, and

 4   opportunities are fully and equally available to persons with disabilities. Specifically, Section

 5   36.201 provides:

 6           § 36.201      General.

 7           (a) Prohibition of discrimination. No individual shall be discriminated
             against on the basis of disability in the full and equal enjoyment of the
 8           goods, services, facilities, privileges, advantages, or accommodations of
             any place of public accommodation by any private entity who owns, leases
 9           (or leases to), or operates a place of public accommodation.

10   See 28 C.F.R. §36.201(a).

11                                           FACTUAL ALLEGATIONS

12           13.       The General Plumbing Supply store is located at 1530 San Luis Road, Walnut

13   Creek, California, 94597. The premises of this facility consists of, among other things, exterior

14   parking spaces, access aisles, paths of travel, entrance facilities, transaction counters, and

15   additional accommodations, all of which are each a “public accommodation” or “facility” subject

16   to the design, construction, and barrier removal requirements under Title III of the ADA, the

17   ADA Accessibility Guidelines (“ADAAG”), and California statutory requirements to provide and

18   maintain barrier free accommodations under Government Code Section 4450, et seq., Civil Code

19   Sections 51, 52, 54, 54.1, and 54.3, and Health & Safety Code Section 19955, et seq.

20           14.       Plaintiff is informed, believes, and alleges that defendant failed to design and

21   construct a facility that was readily accessible to, and usable by, individuals with disabilities

22   when it was structurally practicable to do so. Plaintiff also alleges in the alternative, that

23   defendant failed to remove access barriers when it was readily achievable to do so. Thus,

24   defendant has violated the ADA by failing to provide and ensure full and equal access to its

25   public facilities and accommodations for plaintiff and similarly situated individuals.

26           15.       Defendant’s failure to provide accessible accommodations for plaintiff and
27   similarly situated individuals also violates accessibility standards under Title 24 of the California

28   Code of Regulations, which is known as the California Building Standards Code or more
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           4
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 5 of 21




 1   commonly as “Title 24”. Plaintiff alleges on information and belief that the aforementioned

 2   facilities have been altered, modified, and/or repaired since its original construction, which in

 3   turn, subjects the facilities in question and each of its public accommodations to the access

 4   requirements under California Health and Safety Code Sections 19955-19959 as well as the

 5   access requirements of Title 24.

 6           16.       Plaintiff visited General Plumbing Supply as a customer on March 8, 2022, to

 7   purchase a replacement flange for a water tank. Upon driving into defendant’s parking lot,

 8   plaintiff did not see an accessible parking space, access aisle, or parking signage and was forced

 9   to park in a noncompliant space away from the store entrance. Parking in a noncompliant space

10   was not an ideal choice for plaintiff, because it meant another car could park next to his vehicle

11   and block the space needed for plaintiff to reenter his vehicle. Unfortunately, due to the lack of

12   accessible parking, plaintiff had no other option but to park in the inaccessible space.

13           17.       Plaintiff wheeled to the side entrance of defendant’s store and encountered

14   excessive door pressure and closing speed as he tried to enter the store. Plaintiff struggled to

15   open the heavy door and experienced physical difficulty and discomfort from opening the door.

16   A sales associate assisted plaintiff with his purchase and completed the sale at a transaction

17   counter that was too high. The excessive counter height made the transaction awkward for

18   plaintiff to complete and caused him to experience difficulty, discomfort, and embarrassment.

19   Additionally, plaintiff experienced difficulty and discomfort leaving the store due to defendant’s

20   noncompliant side entrance door.

21           18.       Plaintiff next visited General Plumbing Supply on March 19, 2022, to purchase a

22   flush lever for a toilet. Once again, plaintiff was forced to park in a noncompliant space because

23   he could not locate an accessible parking space, access aisle, or parking signage in defendant’s

24   parking lot. When entering defendant’s store, plaintiff encountered the same excessive door

25   pressure and closing speed and experienced physical difficulty and discomfort from opening the

26   door. Plaintiff approached an employee to ask why General Plumbing Supply did not have any
27   accessible parking spaces for wheelchair using customers. The employee looked confused and

28   said he would go outside to look for himself. The employee returned about a minute later and
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           5
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 6 of 21




 1   told plaintiff that he was right about the lack of accessible parking, that there should be

 2   accessible parking provided, and that he would “look into it.” Plaintiff made his purchase and

 3   was forced once again to use defendant’s noncompliant transaction counter. The excessive

 4   counter height made the transaction awkward to complete and caused plaintiff to experience

 5   difficulty, discomfort, and embarrassment. Plaintiff also experienced physical difficulty and

 6   discomfort leaving the store due to defendant’s noncompliant entrance door.

 7           19.       Plaintiff returned to General Plumbing Supply on March 26, 2022, to return the

 8   flush lever he had purchased on March 19, 2022. Upon arriving at defendant’s business, plaintiff

 9   encountered the same access barriers he previously encountered, which included a lack of

10   accessible parking spaces, the inaccessible door at the side entrance of the store, and the

11   inaccessible transaction counter. These barriers caused plaintiff to experience difficulty,

12   discomfort, and embarrassment once again from attempting to access defendant’s noncompliant

13   accommodations. After completing his return at the inaccessible sales counter, plaintiff decided

14   to visit defendant’s showroom to look at the different bathroom and kitchen products and fixtures

15   on display. To access the showroom, plaintiff had to pull open a door with a handle that was

16   mounted too high. Additionally, the door was heavy, which caused plaintiff to experience

17   physical discomfort and difficulty.

18           20.       When plaintiff arrived home, he realized he had mistakenly returned a flush lever

19   purchased from a local hardware store and not the one plaintiff purchased from General

20   Plumbing Supply on March 19th. Plaintiff drove back to General Plumbing Supply on March 26,

21   2022, to exchange the flush lever purchased from defendant with the one he had mistakenly

22   returned earlier in the day. Once again, plaintiff encountered a lack of accessible parking space

23   and access aisle, the inaccessible side entrance door, and the inaccessible transaction counter.

24   These access barriers caused plaintiff to experience difficulty, discomfort, and embarrassment

25   from encountering and attempting to overcome defendant’s inaccessible accommodations.

26           21.       Plaintiff is informed, believes, and alleges that defendant is aware of its obligation
27   under the ADA and California access standards and regulations to provide full and equal access

28   to services, accommodations, opportunities, and facilities that defendant offers and makes
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           6
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 7 of 21




 1   available to nondisabled persons visiting its store. Yet, despite this knowledge, defendant has

 2   failed to put in place accessible accommodations, facilities, policies, and procedures to ensure

 3   that the different accommodations and opportunities defendant provides to the public are fully

 4   and equally available to plaintiff and other persons with disabilities.

 5           22.       Plaintiff’s adverse experiences have, on at least one other occasion after his last

 6   visit to the store, deterred him from returning to the facility to avoid encountering the same

 7   barriers and experiencing the same denial of full and equal access that caused him difficulty,

 8   discomfort, and embarrassment after attempting to access defendant’s accommodations, services,

 9   and opportunities during his prior visits.

10           23.       Plaintiff seeks to compel defendant to remove all access barriers from their

11   facilities, as required by Federal and California access laws, regulations, and standards to provide

12   plaintiff and other similarly situated individuals full and equal access to the accommodations,

13   facilities, and opportunities that defendant offers and provides to nondisabled members of the

14   public. Plaintiff also seeks deterrence damages against defendant under California law.

15           24.       Plaintiff is informed, believes, and alleges that defendant failed to provide full and

16   equal access to other accommodations and services at their facility and have failed to remove

17   other barriers that have yet to be identified. Thus, plaintiff’s legal representative requires a

18   formal inspection of defendant’s premises and an opportunity to identify and assess all other

19   existing barriers affecting persons with disabilities who are similarly situated to plaintiff. This

20   inspection will enable plaintiff to determine the appropriate scope of injunctive relief required to

21   correct all of defendant’s past, present, and ongoing violations of Federal and California

22   disability access standards, regulations, and laws.

23           25.       Plaintiff is informed, believes, and alleges that he and other similarly situated

24   disabled persons will continue to be discriminated against on an ongoing basis as long as

25   defendant continues to violate the ADA and California access laws by failing to provide full and

26   equal access to accommodations and opportunities that it offers and provides to the public.
27   Plaintiff has no adequate remedy at law to address recurring injury should he or other disabled

28   persons visit defendant’s facility in its current inaccessible configuration and operation. Unless
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           7
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 8 of 21




 1   the Court grants the requested relief, plaintiff and other disabled persons will suffer and continue

 2   to suffer irreparable injury and harm from the denial of full and equal access to accommodations,

 3   facilities, opportunities, and services offered and provided by defendant to the public.

 4           26.       Defendant’s acts and omissions in owning, operating, leasing, constructing,

 5   altering, and maintaining the subject facilities denied plaintiff full and equal access to the

 6   accommodations, opportunities, and services defendant offers to the public. Thus, plaintiff

 7   seeks an injunction from the Court requiring defendant to make its accommodations, facilities,

 8   and opportunities fully accessible to disabled persons and to further compel defendant to take all

 9   necessary steps to ensure that the accommodations are maintained in a fully accessible condition

10   and manner.

11           27.       Plaintiff is informed, believes, and alleges that at all relevant times mentioned,

12   defendant knew, or in the exercise of reasonable diligence should have known, that the barriers at

13   its facility violated applicable disabled access requirements and standards, and had a

14   discriminatory impact on plaintiff and other physically disabled persons. However, defendant

15   has failed to correct the ongoing violations and continues to maintain the very policies and access

16   barriers that unlawfully discriminate against plaintiff and other persons with disabilities by

17   precluding them from full and equal access to the accommodations, facilities, and opportunities

18   that defendant provides to non-disabled persons who visit defendant’s facility.

19                        I.      FIRST CAUSE OF ACTION
               VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
20                           (42 U.S.C. Section 12101, et seq.)

21           28.       Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

22   the allegations contained in paragraphs 1 through 27 of this Complaint.

23           29.       In 1990, the United States Congress made factual findings regarding persons with

24   physical disabilities and concluded that laws were needed to more fully protect:

25                     [S]ome 43 million Americans with one or more physical or
                       mental disabilities; [that] historically society has tended
26                     to isolate and segregate individuals with disabilities;
                       [that] such forms of discrimination against individuals
27                     with disabilities continue to be a serious and pervasive
                       social problem; [that] the nation’s proper goals regarding
28                     individuals with disabilities are to assure equality of
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           8
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 9 of 21




 1                     opportunity, full participation, independent living and
                       economic self-sufficiency for such individuals; [and that] the
 2                     continuing existence of unfair and unnecessary discrimination
                       and prejudice denies people with disabilities the opportunity to
 3                     compete on an equal basis and to pursue those opportunities
                       for which our free society is justifiably famous.
 4

 5   See 42. U.S.C. Section 12101.

 6           30.       Congress stated as its purpose in passing the Americans with Disabilities Act of

 7   1990 (42 U.S.C. Section 12102) that:

 8           It is the purpose of this Act

 9           (1) to provide a clear and comprehensive national mandate for the elimination
             of discrimination against individuals with disabilities;
10
             (2) to provide clear, strong, consistent, enforceable standards addressing
11           discrimination against individuals with disabilities;

12           (3) to ensure that the Federal Government plays a central role in enforcing
             the standards established in this Act on behalf of individuals with disabilities; and
13
             (4) to invoke the sweep of Congressional authority, including the power to enforce
14           the Fourteenth Amendment and to regulate commerce, in order to address the major
             areas of discrimination faced day-to-day by people with disabilities.
15

16   See 42 U.S.C. Section 12101(b) (emphasis added).
17           31.       As part of the Americans with Disabilities Act of 1990, Public Law 101-336,
18   Congress passed “Title III - Public Accommodations and Services Operated by Private Entities.”
19   See Section 301 of the ADA, 42 U.S.C. Section 12181, et seq.
20           32.       Section 302 of the ADA, 42 U.S.C. Section 12182, provides that “[n]o individual

21   shall be discriminated against on the basis of disability in the full and equal enjoyment of the

22   goods, services, facilities, privileges, advantages, or accommodations of any place of public

23   accommodation by any person who owns, leases, or leases to, or operates a place of public

24   accommodation.”

25           33.       The specific prohibitions against discrimination set forth in Section 302(b)(2)(A)

26   of the ADA, 42 U.S.C. Section 12182(b)(2)(A) provide that:

27           For purposes of subsection (a) of this section, discrimination includes -

28                     (i)     the imposition or application of eligibility criteria that
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           9
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 10 of 21




 1                     screen out or tend to screen out an individual with a disability
                       or any class of individuals with disabilities from fully and
 2                     equally enjoying any goods, services, facilities, privileges,
                       advantages, or accommodations . . .;
 3
                       (ii)    a failure to make reasonable modifications in
 4                     policies, practices, or procedures, when such modifications
                       are necessary to afford such goods, services, facilities,
 5                     privileges, advantages or accommodations to individuals
                       with disabilities . . .;
 6
                       (iii) a failure to take such steps as may be necessary to
 7                     ensure that no individual with a disability is excluded, denied
                       services, segregated or otherwise treated differently than other
 8                     individuals because of the absence of auxiliary aids and
                       services . . .;
 9
                       (iv)    a failure to remove architectural barriers, and
10                     communication barriers that are structural in nature, in
                       existing facilities . . . where such removal is readily
11                     achievable; and

12                     (v)     where an entity can demonstrate that the removal of
                       a barrier under clause (iv) is not readily achievable, a failure
13                     to make such goods, services, facilities, privileges,
                       advantages or accommodations available through alternative
14                     methods if such methods are readily achievable.

15   See 42 U.S.C. Section 12182(b)(2)(A)(i)-(v).

16           34.       Defendant’s acts and omissions set forth herein violated plaintiff’s civil rights

17   under the ADA and the regulations promulgated thereunder at 28 C.F.R. Part 36, et seq. In 1992,

18   the standards of the ADA were incorporated into California law, making a violation of the ADA

19   sufficient to establish a violation of California Civil Code Sections 51, 52, 54, 54.1, and 54.3,

20   thereby providing access plaintiffs with the damages remedies available under these statutes.

21           35.       Plaintiff is informed, believes, and alleges that defendant’s accommodations and

22   facility were designed, constructed, and altered or renovated after January 26, 1992, thereby

23   triggering access requirements under Title III of the ADA that are specifically addressed in the

24   ADA Accessibility Guidelines (“ADAAG”). Among other things, these requirements expressly

25   prohibit the design and construction of facilities for first occupancy after January 26, 1993, that

26   are not readily accessible to, and usable by, individuals with disabilities when it was structurally

27   practicable to do so. See 42 U.S.C. Section 12183(a)(1); 28 C.F.R. Section 36.401(a)(1).

28   Plaintiff is further informed and believes that defendant violated the ADA by designing and
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           10
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 11 of 21




 1   constructing their facilities in a manner that made accommodations, services, and opportunities

 2   not readily accessible to plaintiff and other physically disabled members of the public when it

 3   was structurally practical to do so. See 28 C.F.R. Sections 36.401, 36.406; 28 C.F.R. Part 36,

 4   Appendices A and B. Plaintiff is informed, believes, and further alleges that construction of a

 5   readily accessible facility was also required by applicable California law at the time defendant’s

 6   facilities were constructed, altered, remodeled, or renovated.

 7           36.       Plaintiff is informed, believes, and alleges that defendant has denied and

 8   continues to deny full and equal access to plaintiff and to other persons with disabilities, which

 9   amounts to unlawful discrimination against plaintiff and other similarly situated persons on the

10   basis of their disabilities in violation of the ADA. Specifically, sections 302 and 303 of the ADA

11   mandates that disabled persons such as plaintiff are entitled to receive the full and equal

12   enjoyment of the goods, services, facilities, privileges, advantages and accommodations that are

13   offered to members of the public who are not physically disabled. See 42 U.S.C. Sections 12182

14   and 12183; see also 28 C.F.R. Sections 36.101 and 36.201(a).

15           37.       Pursuant to Section 308 of the ADA, 42 U.S.C. Section 12188, et seq., plaintiff is

16   entitled to the remedies and procedures set forth in Section 204(a) of the Civil Rights Act of

17   1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to ongoing discrimination on the basis

18   of his disability in violation of the ADA and/or has sufficient grounds for believing that he is about

19   to be subjected to unlawful discrimination. Thus, plaintiff is entitled to an injunction compelling

20   defendant to comply with its obligations under the ADA and to provide plaintiff and other disabled

21   persons with full and equal access to the public accommodations and services at defendant’s

22   facility that are enjoyed by nondisabled persons. See 42 U.S.C. Section 12188(a)(2) (providing

23   that “[i]n cases of violations of § 302(b)(2)(A)(iv) and § 303(a) . . . injunctive relief shall include

24   an order to alter facilities to make such facilities readily accessible to and usable by individuals

25   with disabilities to the extent required by this title.”); see also 28 C.F.R. Section 36.501(a), (b).

26           38.       Defendant’s acts and omissions giving rise to this action have caused plaintiff to
27   incur legal expenses and attorney’s fees to enforce plaintiff’s rights against defendant’s unlawful

28   discrimination and to enforce provisions of the law requiring full and equal access to public
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           11
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 12 of 21




 1   accommodations for persons with disabilities. Thus, plaintiff seeks to recover all reasonable

 2   attorney’s fees, litigation expenses (including expert fees) and costs, pursuant to Section 505 of

 3   the ADA (42 U.S.C. Section 12205) and 28 C.F.R. Section 36.505, which is the United States

 4   Department of Justice’s regulations for enforcement of Title III of the ADA. Plaintiff also seeks

 5   to compel defendant to make its facility accessible to all disabled members of the public, thereby

 6   justifying recovery of “public interest” attorney's fees pursuant to California Code of Civil

 7   Procedure Section 1021.5.

 8           WHEREFORE, plaintiff prays that this Court grants the requested injunctive relief and

 9   award attorney’s fees, litigation expenses, and costs as hereinafter stated against defendant.

10                              II.  SECOND CAUSE OF ACTION
                             VIOLATION OF CALIFORNIA CIVIL CODE
11                              SECTIONS 54, 54.1, AND 54.3, et seq.

12           39.       Plaintiff repleads and incorporates by reference as if fully set forth again herein,

13   the allegations contained in paragraphs 1 through 38 of this Complaint.

14           40.       California Civil Code Section 54 provides that persons with physical disabilities

15   are not to be discriminated against because of their physical handicap or disability. This section

16   provides that:

17                     (a)     Individuals with disabilities . . . have the same rights
                               as the general public to full and free use of the streets,
18                             highways, sidewalks, walkways, public buildings,
                               medical facilities, including hospitals, clinics, and
19                             physicians' offices public facilities, and other public
                               places.
20

21           41.       California Civil Code Section 54.1 provides that persons with disabilities shall not

22   be denied full and equal access to places of public accommodation or facilities:

23                     (a)(1) Individuals with disabilities shall be entitled to full and
                       equal access, as other members of the general public, to
24                     accommodations, advantages, facilities, medical facilities,
                       including hospitals, clinics, and physicians’ offices, and
25                     privileges of all common carriers, airplanes, motor vehicles,
                       railroad trains, motorbuses, streetcars, boats, or any other
26                     public conveyances or modes of transportation (whether private,
                       public, franchised, licensed, contracted, or otherwise provided),
27                     telephone facilities, adoption agencies, private schools, hotels,
                       lodging places, places of public accommodation, amusement or
28                     resort, and other places to which the general public is invited,
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           12
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 13 of 21




 1                     subject only to the conditions and limitations established by law,
                       or state or federal regulation, and applicable alike to all persons.
 2

 3   See California Civil Code Section 54.1(a)(1) (emphasis added).

 4           42.       California Civil Code Section 54.1 further provides that a violation of the
 5   Americans with Disabilities Act of 1990 constitutes a violation of Section 54.1. Specifically,
 6   Section 54.1(d) provides that:
 7                     (d) A violation of the right of an individual under the
                       Americans with Disabilities Act of 1990 (Public Law 101-336)
 8                     also constitutes a violation of this section, and nothing in this
                       section shall be construed to limit the access of any person in
 9                     violation of that act.
10   See California Civil Code Section 54.1(d) (emphasis added).
11           43.       Plaintiff is a qualified person within the meaning of Civil Code Section 54.1
12   whose rights have been violated by defendant as prohibited by Civil Code Sections 54 and 54.1.
13   Each of the specific architectural barrier defendant has created, maintained, and knowingly failed
14   and/or refused to remove constitutes a separate act in violation of Sections 54 and 54.1 of the
15   California Civil Code. Plaintiff has been, and continues to be, denied full and equal access to the
16   public accommodations and services available at defendant’s facilities. Accordingly, plaintiff
17   seeks statutory damages pursuant to California Civil Code Section 54.3(a) for each day on which
18   he visited or has been deterred from visiting defendant’s facility due to his knowledge, belief, and
19   personal experiences that the accommodations and services there are inaccessible to plaintiff and
20   to similarly situated persons. Section 54.3(a) of the California Civil Code provides that:
21                     Any person or persons, firm or corporation, who denies or
                       interferes with admittance to or enjoyment of the public facilities
22                     as specified in Sections 54 and 54.1 or otherwise interferes with
                       the rights of an individual with a disability under Sections 54,
23
                       54.1 and 54.2 is liable for each offense for the actual damages and
24                     any amount as may be determined by a jury, or the court sitting
                       without a jury, up to a maximum of three times the amount of
25                     actual damages but in no case less than one thousand dollars
                       ($1,000), and attorney’s fees as may be determined by the court
26                     in addition thereto, suffered by any person denied any of the rights
                       provided in Sections 54, 54.1 and 54.2.
27

28   See California Civil Code Section 54.3(a).
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           13
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 14 of 21




 1           44.       Plaintiff suffered violations of his rights under California Civil Code Sections 54

 2   and 54.1 when he was denied full and equal access to the public accommodations, facilities, and

 3   services stated herein at defendant’s facility. Defendant has denied plaintiff full and equal access

 4   to the accommodations, facilities, and opportunities offered at defendant’s store, on the basis of

 5   plaintiff’s status as a person with physical disabilities.

 6           45.       As a result of defendant’s acts and/or omissions which denied plaintiff full and

 7   equal access to the facilities, accommodations, and services offered at defendant’s store,

 8   defendant, in owning, operating, managing, and maintaining the subject facility, caused plaintiff

 9   to suffer multiple violations of his civil rights, including but not limited to his rights under

10   Sections 54, 54.1 and 54.3 of the California Civil Code.

11           46.       Plaintiff is informed and believes that before he visited defendant’s facility,
12   defendant was aware of its legal obligations under Federal and California law requiring owners
13   and operators of public accommodations to make their facilities readily accessible to persons
14   with disabilities. Yet, despite this knowledge, defendant discriminated against plaintiff on
15   account of his physical disability and denied him full and equal access to the accommodations,
16   facilities, services, and opportunities that were fully available to nondisabled persons at this
17   facility in violation of Sections 54 and 54.1 of the California Civil Code.
18           47.       Plaintiff seeks to recover statutory damages pursuant to Section 54.3(a) of the
19   California Civil Code against defendant for violating his civil rights as a person with a disability
20   during his visit defendant’s store. Additionally, plaintiff seeks deterrence damages and currently
21   believes he will encounter the same and/or additional barriers and would again be denied full and
22   equal access to the facility and its goods, services, and accommodations if plaintiff returns to
23   defendant’s business to access its public accommodations.
24           48.       As a result of defendant’s acts and omissions in this regard, plaintiff has incurred

25   legal expenses to enforce his civil rights and to enforce provisions of the law protecting access

26   for persons with physical disabilities and prohibiting discrimination against persons with physical

27   disabilities. Pursuant to California Civil Code Section 54.3, plaintiff seeks to recover his

28   reasonable attorney’s fees, legal expenses, and costs incurred in the prosecution of this matter if
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           14
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 15 of 21




 1   he is deemed to be the prevailing party. Plaintiff also seeks to recover statutory damages from

 2   defendant and to compel defendant to make its facilities and accommodations fully accessible to

 3   plaintiff and other similarly situated members of the public who have disabilities. Thus, an

 4   injunction is appropriate under Section 55 of the California Civil Code as well as an award of public

 5   interest attorney’s fees pursuant to Section 1021.5 of the California Code of Civil Procedure if

 6   plaintiff is deemed to be the prevailing party.

 7           WHEREFORE, plaintiff prays for relief as hereinafter stated.

 8
                          III.  THIRD CAUSE OF ACTION
 9            DENIAL OF FULL AND EQUAL ACCESS IN A PUBLIC FACILITY
            TO A PERSON WITH A DISABILITY IN VIOLATION OF CALIFORNIA
10                         DISABLED ACCESS STATUTES

11           49.       Plaintiff repleads and incorporates by reference, as if fully set forth again
12   herein, the allegations contained in paragraphs 1 through 48 of this Complaint.
13           50.       Plaintiff and other similarly situated physically disabled persons whose physical

14   conditions require the use of a wheelchair or other mobility device are unable to use the public

15   facilities at the General Plumbing Supply store in a “full and equal” basis until defendant fully

16   brings their facilities and accommodations into compliance with provisions of California Health

17   & Safety Code Section 19955, et seq. Plaintiff is a member of the portion of the public whose

18   rights are protected by provisions of this statute.

19           51.       Under Section 54.1 of the California Civil Code, persons with disabilities are

20   entitled to full and equal access to public accommodations. “Public accommodations” are

21   further defined as a building, structure, facility complex, or improved area which is used by the

22   general public and shall include parking lots, paths of travel, seating, and attendant facilities.

23           52.       Defendant owns and operates the General Plumbing Supply store, thereby

24   subjecting defendant’s facilities to the requirements of California’s Disabled Rights statutes.

25   California Health & Safety Code Section 19955 provides in pertinent part:

26
                       The purpose of this part is to insure that public accommodations
27                     or facilities constructed in this state with private funds adhere to
                       the provisions of Chapter 7 (commencing with Sec. 4450) of
28                     Division 5 of Title 1 of the Government Code. For the purposes
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           15
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 16 of 21




 1                     of this part “public accommodation or facilities” means a building,
                       structure, facility, complex, or improved area which is used by the
 2                     general public and shall include auditoriums, hospitals, theaters,
                       restaurants, hotels, motels, stadiums, and convention centers.
 3                     When sanitary facilities are made available for the public, clients
                       or employees in such accommodations or facilities, they shall be
 4                     made available for the handicapped.

 5           53.       California Health & Safety Code Section 19956, which appears in the same

 6   chapter as Section 19955, provides in pertinent part, “accommodations constructed in this state

 7   shall conform to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Title

 8   1 of the Government Code . . . .” Section 19956 of the Health & Safety Code was operative as

 9   of July 1, 1970, and is applicable to all public accommodations constructed or altered after that

10   date. Plaintiff is informed, believes, and alleges that defendant’s facilities were constructed,

11   altered, or repaired after July 1, 1970. Thus, the construction and/or modification of these

12   facilities are subject to the requirements of Part 5.5, Section 19955, et seq., of the California

13   Health & Safety Code, which requires defendant to provide full and equal access to persons with

14   disabilities upon completion of such construction, alteration, structural repairs or additions under

15   Health & Safety Code Section 19959.

16           54.       Plaintiff is informed, believes, and alleges that construction, alterations, structural
17   repairs and/or additions were completed on the subject property after January 1, 1968, the
18   effective date of California Government Code Section 4450, et seq, and the July 1, 1970 effective
19   date of Health & Safety Code Sections 19955-19959. Thus, defendant was required to provide
20   accessible accommodations for persons with disabilities in each regard sought in this Complaint.

21           55.       Pursuant to the authority under Government Code Section 4450, et seq, the State

22   Architect promulgated regulations for the enforcement of these provisions. Effective July 1,

23   1982, Title 24 of the California Building Standards Code (formerly known as the California

24   Administrative Code) adopted the California State Architect’s Regulations, which apply to any

25   construction or alterations of public accommodations occurring after the effective date. Title 24

26   was in effect at the time of each alteration, which occurred at defendant’s facility after January 1,

27   1982. Thus, the alterations triggered defendant’s duty to comply with the access standards of

28   Title 24 whenever each such “alteration, structural repair or addition” is carried out.
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           16
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 17 of 21




 1           56.       Defendant’s facility and accommodations are “public accommodations” or

 2   “facilities” within the meaning of Health & Safety Code Section 19955, et seq. Defendant

 3   violated plaintiff’s civil rights by denying him and similarly situated persons with disabilities

 4   full and equal access to the accommodations and opportunities that defendant provides to

 5   nondisabled members of the public.

 6           57.       As a result of defendant’s ongoing failure to provide plaintiff with full and equal

 7   access to the public accommodations and related facilities at defendant’s store, defendant has

 8   denied plaintiff and similarly situated persons of their civil rights to full and equal access to the

 9   aforementioned accommodations. Plaintiff believes defendant will continue its unlawful and

10   discriminatory practices unless the Court compels defendant to provide accessible facilities as

11   discussed herein.

12           58.       Plaintiff has had to incur legal expenses to enforce his civil rights to receive full
13   and equal access to the public accommodations for himself and for other similarly situated

14   persons with physical disabilities. Because plaintiff seeks to enforce an important right that also

15   affects the public interest, plaintiff is entitled to recover his reasonable attorney’s fees and legal

16   costs pursuant to the provisions of California Code of Civil Procedure Section 1021.5. Plaintiff

17   additionally seeks to recover his attorney’s fees pursuant to California Civil Code Section 54.3

18   and/or in the alternative, plaintiff will seek to recover his attorney’s fees, costs and legal expenses

19   pursuant to Section 204(a) of the Civil Rights Act of 1964 (42 U.S.C. 2000(a)-3(a)) if he is

20   deemed to be the prevailing party.
21           59.       Defendant’s aforementioned acts have proximately caused and will continue to

22   cause irreparable injury to plaintiff if defendant is not enjoined by this Court. Accordingly,

23   plaintiff seeks injunctive relief and an order compelling defendant to make its facility and

24   accommodations readily accessible to, and fully and equally accessible by, plaintiff and other

25   similarly situated persons with disabilities.

26           WHEREFORE, plaintiff prays for relief as hereinafter stated.
27   ///

28   ///
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           17
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 18 of 21




 1                     IV.   FOURTH CAUSE OF ACTION
         FOR DENIAL OF ACCESS TO FULL AND EQUAL ACCOMMODATIONS,
 2         ADVANTAGES, FACILITIES, PRIVILEGES AND/OR SERVICES IN
           VIOLATION OF CALIFORNIA CIVIL CODE SECTION 51, ET SEQ.
 3                      (THE UNRUH CIVIL RIGHTS ACT)

 4           60.       Plaintiff repleads and incorporates by reference, as if fully set forth again herein,
 5   the allegations contained in paragraphs 1 through 59 of this Complaint.
 6           61.       Defendant’s actions and omissions and failure to act as reasonable and prudent
 7   owners and/or operators of a public accommodation by ignoring, maintaining, and/or creating
 8   architectural barriers, policies, practices and/or procedures that have precluded plaintiff and other
 9   similarly situated persons with disabilities from full and equal access to the accommodations and
10   opportunities offered by defendant to nondisabled members of the public, violate Section 51 of
11   the California Civil Code, known as the Unruh Civil Rights Act. The Unruh Act provides:
12                     (a)   This section shall be known, and may be cited, as the
                       Unruh Civil Rights Act.
13
                       (b)     All persons within the jurisdiction of this state are free
14                     and equal, and no matter what their sex, race, color, religion,
                       ancestry, national origin, disability, medical condition, marital
15                     status, or sexual orientation are entitled to the full and equal
                       accommodations, advantages, facilities, privileges, or services
16                     in all business establishments of every kind whatsoever.

17                     (c)     This section shall not be construed to confer any right or
                       privilege on a person that is conditioned or limited by law or that is
18                     applicable alike to persons of every sex, color, race, religion,
                       ancestry, national origin, or disability, medical condition, marital
19                     status, or sexual orientation.

20                     (d)     Nothing in this section shall be construed to require any
                       construction, alteration, repair, structural or otherwise, or
21                     modification of any sort whatsoever, beyond that construction,
                       alteration, repair, or modification that is otherwise required by
22                     other provisions of law, to any new or existing establishment,

23                     facility, building, improvement, or any other structure, nor shall
                       anything in this section be construed to augment, restrict, or alter in
24                     any way the authority of the State Architect to require construction,
                       alteration, repair, or modifications that the State Architect
25                     otherwise possesses pursuant to other laws.

26                                             * * * *
                       (f)     A violation of the right of any individual under the
27                     Americans with Disabilities Act of 1990 (Public Law 101-336)
                       shall also constitute a violation of this section.
28
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           18
          Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 19 of 21




 1   See California Civil Code Section 51 (emphasis added).

 2            62.      Defendant’s acts and omissions have denied plaintiff full and equal access to

 3   accommodations, advantages, facilities, privileges and services in a business establishment on the

 4   basis of physical disability in violation of Cal. Civil Code Section 51. Thus, defendant has

 5   violated plaintiff’s civil rights by denying him full and equal access to accommodations, services,

 6   and opportunities provided to nondisabled persons who visit defendant’s facility.

 7            63.      Each violation of the ADA, as stated above, which is incorporated herein as if

 8   separately stated, is also a violation of the Unruh Civil Rights Act as provided by Section 51(f)

 9   of the California Civil Code. Plaintiff has been, and continues to be, denied full and equal access

10   to the public accommodations and services available to the general public at defendant’s store.

11   Thus, plaintiff seeks statutory damages pursuant to Civil Code Section 52(a) for his visits to

12   General Plumbing Supply and for each occasion he has been deterred from returning because of

13   his knowledge and belief that the accommodations and services offered at defendant’s business

14   remain inaccessible to plaintiff and to other similarly situated persons with disabilities. These

15   violations of the Unruh Act support an award of minimum statutory damages of $4,000 against

16   defendant for each actionable count of unlawful discrimination experienced by plaintiff.

17            64.      Defendant’s acts and omissions have required plaintiff to incur legal expenses
18   and attorney’s fees to enforce his civil rights under applicable Federal and California laws that
19   prohibit discrimination against persons with disabilities. Accordingly, plaintiff seeks to recover
20   his reasonable attorney’s fees, litigation expenses and legal costs, pursuant to Civil Code Section
21   52. Because plaintiff’s action also seeks to require defendant to make its facility fully accessible
22   to all disabled members of the public, plaintiff is entitled to an award of “public interest”
23   attorney’s fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
24             WHEREFORE, plaintiff prays for relief as hereinafter stated.
25                                             PRAYER FOR RELIEF

26                  Plaintiff prays that this Court award damages and provide relief as follows:

27   I.       Prayer for FIRST CAUSE OF ACTION for Violation of the Americans with
              Disabilities Act of 1990 (42 U.S.C. §12101, et seq.)
28
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           19
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 20 of 21




 1           1.        For injunctive relief, compelling defendant GENERAL PLUMBING to make its

 2   business located at 1530 San Luis Road, Walnut Creek, California, 94597, and its related

 3   facilities, accommodations, and services available, accessible to, and usable by plaintiff and

 4   other individuals with disabilities as required by the ADA, 42 U.S.C. Section 12181, et seq., and

 5   to make any and all required modifications in policies, practices, and procedures to provide

 6   plaintiff and similarly situated individuals full and equal access to the goods, services, facilities,

 7   privileges, advantages, opportunities, and accommodations that defendant offers to nondisabled

 8   members of the public.

 9           2.        For reasonable attorney’s fees, litigation expenses, expert costs, and costs of suit,
10   if plaintiff is deemed to be the prevailing party; and
11           3.        For such other and further relief as the Court may deem to be just and proper.
12   II.     Prayer for SECOND CAUSE OF ACTION for Denial of Full and Equal Access
             in Violation of California Civil Code Sections 54, 54.1 and 54.3, et seq.
13

14           1.        For statutory damages against defendant GENERAL PLUMBING pursuant to
15   California Civil Code Section 54.3 for each separate occasion of actionable discrimination that
16   plaintiff sustained when he encountered architectural barriers at defendant’s business and was
17   denied full and equal access to the goods, services, accommodations, and opportunities offered
18   to nondisabled members of the public, and for deterrence damages;
19           2.        For attorney’s fees pursuant to California Civil Code Section 54.3 and California
20   Code of Civil Procedure Section 1021.5, if plaintiff is the prevailing party, and an injunction under
21   California Civil Code Section 55;
22           3.        For all costs of suit, expert costs and prejudgment interest, California Civil Code

23   Section 3291;

24           4.        For such other and further relief as the Court may deem to be just and proper.

25   III.    Prayer for THIRD CAUSE OF ACTION for Denial of Accessible Public
             Facilities in Violation of California Health & Safety Code Section 19955, et seq.
26
27           1.        For injunctive relief, compelling defendant GENERAL PLUMBING to

28   make its business located at 1530 San Luis Road, Walnut Creek, California, 94597, and its
     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           20
       Case 3:22-cv-03143-JCS Document 1 Filed 05/27/22 Page 21 of 21




 1   related facilities, accommodations, and services available, accessible to, and usable by plaintiff

 2   and other individuals with disabilities, as required by applicable California law;

 3           2.        For attorney’s fees pursuant to California Code of Civil Procedure Section 1021.5,
 4   if plaintiff is deemed to be the prevailing party;
 5           3.        For all costs of suit, expert costs and prejudgment interest, California Civil Code
 6   Section 3291;

 7           4.        For such other and further relief as the Court may deem to be just and proper.

 8   IV.     Prayer for FOURTH CAUSE OF ACTION for Denial of Access to Full and
             Equal Accommodations, Advantages, Facilities, Privileges and/or Services in
 9           Violation of California Civil Code Section 51, et seq.

10           1.        For statutory damages against defendant GENERAL PLUMBING pursuant to

11   California Civil Code Section 52, et seq. for each separate occasion of discrimination that

12   plaintiff sustained when he encountered architectural barriers at General Plumbing Supply located

13   at 1530 San Luis Road, Walnut Creek, California, 94597, and was denied full and equal access to

14   the goods, services, opportunities, and accommodations offered at the subject facility to

15   nondisabled members of the public, and for deterrence damages;

16           2.        For attorney’s fees pursuant to California Civil Code Section 52, if plaintiff is

17   deemed to be the prevailing party;

18           3.        For all costs of suit, expert costs and prejudgment interest, California Civil Code

19   Section 3291;

20           4.        For such other and further relief as the Court may deem to be just and proper.

21

22   Dated: May 27, 2022                                  LAW OFFICE OF JASON G. GONG
                                                          A Professional Corporation
23
                                                       /s/ Jason G. Gong
24                                               By: _____________________________________
                                                       JASON G. GONG
25                                                     Attorney for Plaintiff
                                                       BEHRUZ BONSHAHI
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     __________________________________________________________________________________________________________________
     Bonshahi v. General Plumbing Supply Company, Inc., et al., Case No.
     Complaint for Injunctive and Monetary Relief
                                                           21
